Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 1 of 27 Page ID #:1942
Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 2 of 27 Page ID #:1943
Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 3 of 27 Page ID #:1944
Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 4 of 27 Page ID #:1945
Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 5 of 27 Page ID #:1946
Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 6 of 27 Page ID #:1947
Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 7 of 27 Page ID #:1948
Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 8 of 27 Page ID #:1949
Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 9 of 27 Page ID #:1950
Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 10 of 27 Page ID
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Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 11 of 27 Page ID
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Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 12 of 27 Page ID
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Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 13 of 27 Page ID
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Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 14 of 27 Page ID
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Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 15 of 27 Page ID
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Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 16 of 27 Page ID
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Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 17 of 27 Page ID
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Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 18 of 27 Page ID
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Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 19 of 27 Page ID
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Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 20 of 27 Page ID
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Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 25 of 27 Page ID
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Case 2:06-cv-07561-PA-CW Document 262-2 Filed 01/05/09 Page 26 of 27 Page ID
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